   Case 4:24-cv-00390-SHL-HCA          Document 9-1   Filed 10/31/24   Page 1 of 32




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA

ORCUN SELCUK; ALAN DAVID
GWILLIAM, TINGTING ZHEN, MICHAEL
BROKLOFF; and THE LEAGUE OF
UNITED LATIN AMERICAN CITIZENS OF                 Case No. 4:24-cv-00390
IOWA, on behalf of itself and its members;

                  Plaintiffs,
       v.                                        PLAINTIFFS’ MEMORANDUM OF
                                                LAW IN SUPPORT OF MOTION FOR
PAUL D. PATE, in his official capacity as the   TEMPORARY RESTRAINING ORDER
Iowa Secretary of State; BENJAMIN D.             AND PRELIMINARY INJUNCTION
STEINES, in his official capacity as the
Winneshiek County Auditor and Winneshiek        EXPEDITED HEARING AND RELIEF
County Commissioner of Elections; JAMIE                 REQUESTED
FITZGERALD, in his official capacity as the
Polk County Auditor and Polk County
Commissioner of Elections; MELVYN
HOUSER, in his official capacity as the
Pottawattamie County Auditor and
Pottawattamie County Commissioner of
Elections; ERIN SHANE, in her official
capacity as the acting Johnson County Auditor
and acting Johnson County Commissioner of
Elections; and KERRI TOMPKINS, in her
official capacity as the Scott County Auditor
and Scott County Commissioner of Elections,

                  Defendants.
       Case 4:24-cv-00390-SHL-HCA                           Document 9-1                Filed 10/31/24              Page 2 of 32




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1
FACTUAL BACKGROUND ......................................................................................................... 2
I.        The Secretary Announces the Voter Purge Program. ......................................................... 2
II.       The Individual Plaintiffs, Naturalized Citizens, Attempt to Vote Through Early In-
          Person Voting...................................................................................................................... 5
          A.         Dr. Orcun Selcuk. ................................................................................................... 5
          B.         Mr. Alan David Gwilliam. ...................................................................................... 6
          C.         Ms. Tingting Zhen. ................................................................................................. 7
          D.         Mr. Michael Brokloff. ............................................................................................. 7
          E.         The League of United Latin American Citizens of Iowa. ....................................... 8
III.      Absent an Injunction, the Secretary’s List Will Burden Eligible Voters ............................ 9
ARGUMENT ................................................................................................................................ 10
I.        Plaintiffs Are Likely to Succeed on the Merits. ................................................................ 10
          A.         Plaintiffs Are Likely to Succeed on the Merits of Their Claim That
                     Defendants’ Conduct Violates the Equal Protection Clause................................. 10
          B.         The Voter Purge Program Places Impermissible Burdens on the Affected
                     Voter’s Fundamental Right to Vote. ..................................................................... 13
          C.         Plaintiffs Are Likely to Succeed on the Merits of Their Claim That the Purge
                     Program Violates Procedural Due Process. .......................................................... 14
II.       Plaintiffs Have Suffered and Will Continue to Suffer Irreparable Harm as a Result of
          the Interference with their Right to Vote. ......................................................................... 15
III.      The Balance of Equities Tips Sharply in Plaintiffs’ Favor. .............................................. 17
IV.       The Preliminary Injunction Will Serve the Public Interest. .............................................. 18
CONCLUSION ............................................................................................................................. 20




                                                                      i
     Case 4:24-cv-00390-SHL-HCA                           Document 9-1                Filed 10/31/24             Page 3 of 32




                                               TABLE OF AUTHORITIES

Federal Cases                                                                                                                  Page(s)

A. Philip Randolph Inst. v. Husted,
    907 F.3d 913 (6th Cir. 2018) ...................................................................................................18

Ariz. Dream Act Coalition v. Brewer,
    757 F.3d 1053 (9th Cir. 2014) .................................................................................................17

Awad v. Ziriax,
  670 F.3d 1111 (10th Cir. 2012) ...............................................................................................19

Bear v. Kautzky,
   305 F.3d 802 (8th Cir. 2002) ...................................................................................................19

Boustani v. Blackwell,
   460 F. Supp. 2d 822 (N.D. Ohio 2006) ..............................................................................12, 13

Burlington N. R.R. Co. v. Bair,
   957 F.2d 599 (8th Cir. 1992) ...................................................................................................16

Bush v. Gore,
   531 U.S. 98 (2000) ...................................................................................................................10

Cleburne v. Cleburne Living Ctr.,
   473 U.S. 432 (1985) .................................................................................................................11

D.M. by Bao Xiong v. Minn. State High Sch. League,
   917 F.3d 994 (8th Cir. 2019) ...................................................................................................19

Davis v. Mineta,
   302 F.3d 1104 (10th Cir. 2002) ...............................................................................................17

Democratic Nat’l Comm. v. Republican Nat’l Comm.,
  No. CV 81-03876, 2016 WL 6584915 (D.N.J. Nov. 5, 2016).................................................17

Dillard v. Crenshaw Cty.,
    640 F. Supp. 1347 (M.D. Ala. 1986) .......................................................................................17

Doe v. Rowe,
   156 F. Supp. 2d 35 (D. Maine 2001) .......................................................................................14

Dunn v. Blumstein,
   405 U.S. 330 (1972) .................................................................................................................10

FDA v. All. for Hippocratic Med.,
  602 U.S. 367 (2024) ...................................................................................................................8



                                                                    ii
     Case 4:24-cv-00390-SHL-HCA                           Document 9-1                Filed 10/31/24             Page 4 of 32




Fernandez v. Georgia,
   716 F. Supp. 1475 (M.D. Ga. 1989) ........................................................................................12

Firearms Policy Coalition Second Amendment Defense Committee v. Harris,
   192 F. Supp. 3d 1110 (E.D. Cal. 2016)....................................................................................19

Garcia v. Fed. Nat’l Morg. Ass’n,
   782 F.3d 736 (6th Cir. 2015) ...................................................................................................14

Gilliam v. Foster,
    63 F.3d 287 (4th Cir. 1995) .....................................................................................................17

Gordon v. Holder,
   721 F.3d 638 (D.C. Cir. 2013) .................................................................................................18

Graham v. Richardson,
   403 U.S. 365 (1975) .................................................................................................................11

Grutter v. Bollinger,
   539 U.S. 306 (2003) .................................................................................................................11

Harper v. Va. State Bd. of Elections,
   383 U.S. 663 (1966) .................................................................................................................13

Havens Realty Corp. v. Coleman,
   455 U.S. 363 (1982) ...................................................................................................................8

Heideman v. S. Salt Lake City,
   348 F.3d 1182 (10th Cir. 2003) ...............................................................................................16

Hoblock v. Albany Cty. Bd. of Elections,
   341 F. Supp. 2d 169 (N.D.N.Y. 2004) .....................................................................................17

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   115 F.4th 889 (8th Cir. 2024) ..................................................................................................10

Hunt v. Wash. State Apple Adver. Comm’n,
   432 U.S. 333 (1977) ...................................................................................................................8

Independence-Alliance Party of Minn. v. Simon,
   87 F.4th 872 (8th Cir. 2023) ....................................................................................................13

Kansas City Southern Transport Co., Inc. v. Teamsters Local Union #41,
   126 F.3d 1059 (8th Cir. 1997) .................................................................................................19

League of Women Voters of Fla. v. Browning,
   863 F. Supp. 2d 1155 (N.D. Fla. 2012)....................................................................................19




                                                                    iii
     Case 4:24-cv-00390-SHL-HCA                            Document 9-1               Filed 10/31/24              Page 5 of 32




League of Women Voters of Mo. v. Ashcroft,
   336 F. Supp. 3d 998 (W.D. Mo. 2018) ....................................................................................19

League of Women Voters of N.C. v. North Carolina,
   769 F.3d 224 (4th Cir. 2014) .......................................................................................16, 17, 18

League of Women Voters of U.S. v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................18

Libertarian Party of Ark. v. Thurston,
   962 F.3d 390 (8th Cir. 2020) ...................................................................................................11

Luria v. United States,
   231 U.S. 9 (1913) .....................................................................................................................10

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  134 S. Ct. 1434 (2014) .............................................................................................................16

Mi Familia Vota v. Fontes,
   719 F. Supp. 3d 929 (D. Ariz. 2024) .......................................................................................12

Montano v. Suffolk Cty. Legislature,
  268 F. Supp. 2d 243 (E.D.N.Y. 2003) .....................................................................................16

Moore v. Martin,
  854 F.3d 1021 (8th Cir. 2017) .................................................................................................11

Nat’l Fed’n of the Blind of Mo. v. Cross,
   184 F.3d 973 (8th Cir. 1999) .....................................................................................................8

Ne. Fla. Chapter of Ass’n of Gen. Contractors v. Jacksonville,
    896 F.2d 1283 (11th Cir. 1990) ...............................................................................................16

New Ga. Project v. Raffensperger,
   484 F. Supp. 3d 1265 (N.D. Ga. 2020) ....................................................................................15

Obama for Am. v. Husted,
   697 F.3d 423 (6th Cir. 2012) .............................................................................................16, 18

Ohio State Conf. of NAACP v. Husted,
   768 F.3d 524 (6th Cir. 2014) .............................................................................................13, 14

Padda v. Becerra,
   37 F.4th 1376 (8th Cir. 2022) ..................................................................................................15

Schmidt v. Des Moines Public Schools,
   655 F.3d 811 (8th Cir. 2011) ...................................................................................................14




                                                                    iv
     Case 4:24-cv-00390-SHL-HCA                            Document 9-1                Filed 10/31/24              Page 6 of 32




Self Advocacy Solutions N.D. v. Jaeger,
    464 F. Supp. 3d 1039 (D.N.D. 2020) .......................................................................................14

Siegel v. LePore,
    234 F.3d 1163 (11th Cir. 2000) ...............................................................................................18

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    910 F.3d 438 (9th Cir. 2018) ...................................................................................................13

Students for Fair Admissions, Inc. v. President & Fellows of Harvard College,
   600 U.S. 181 (2023) ...................................................................................................................8

Tex. League of United Latin Am. Citizens v. Whitley,
   No. SA-19-CA-074-FB, 2019 WL 7938511 (W.D. Tex. Feb. 27, 2019) ................................12

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   27 F.4th 657 (8th Cir. 2022) ....................................................................................................10

U.S. Student Ass’n Found. v. Land,
   546 F.3d 373 (6th Cir. 2008) ...................................................................................................18

United States v. Florida,
   870 F. Supp. 2d 1346 (N.D. Fla. 2012)....................................................................................12

United States v. James Daniel Good Real Property,
   510 U.S. 43 (1993) ...................................................................................................................15

Wesberry v. Sanders,
   376 U.S. 1 (1964) .....................................................................................................................18

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   792 F.2d 323 (2d Cir. 1986).....................................................................................................16

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) .....................................................................................................................10

State Statutes

Iowa Code §§ 47.1(1) and 47.7(6) ...................................................................................................4

National Voter Registration Act of 1993 § 8(b) ............................................................................15

Constitutional Provisions

U.S. Const. amend. I ......................................................................................................................13

U.S. Const. amend. XIV ..........................................................................................................10, 13




                                                                     v
     Case 4:24-cv-00390-SHL-HCA                            Document 9-1               Filed 10/31/24              Page 7 of 32




Other Authorities

Des Moines Register ....................................................................................................................4, 5

Erin Murphy, 3 on List of Possible Illegal Linn County Voters are Eligible,
    Auditor Miller Says, The Gazette (October 25, 2024.................................................................4

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   Past Election, Associated Press (Oct. 23, 2024) .......................................................................3

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   Iowa Cap. Dispatch (Oct. 22, 2024) ..........................................................................................2

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   Have Voted in Past Elections, Des Moines Register (October 23, 2024) ..................................2




                                                                    vi
   Case 4:24-cv-00390-SHL-HCA              Document 9-1        Filed 10/31/24       Page 8 of 32




                                        INTRODUCTION

       Plaintiffs respectfully and urgently request that this Court grant a temporary restraining

order (“TRO”) and injunctive relief necessary to halt a new and unlawful scheme that threatens to

disenfranchise thousands of voters in the 2024 General Election.

       On October 22, 2024—with early voting already underway and just two weeks from

Election Day—Iowa Secretary of State Paul D. Pate (the “Secretary”) unveiled a list of voters that

he maintains are ineligible to vote based on lack of United States citizenship. Rather than

adequately investigate the facts, ensure the list’s reliability, and then notify the registered voters

on the list, the Secretary waited until the eve of an election and provided his list only to county

election commissioners, mandating that county election officials automatically challenge the

eligibility of all persons on the list. County election commissioners now compelled to follow that

directive include Defendants Benjamin D. Steines, Jamie Fitzgerald, Melvyn Houser, Erin Shane,

and Kerri Thompkins (with the Secretary, collectively “Defendants”).

       The Secretary’s scheme is unlawful, ill-considered, and an affront to the Constitution. The

Secretary’s list consists of Iowa voters who have, purportedly and at some point in the past, self-

identified to the Iowa Department of Transportation (“DOT”) as being non-citizens. But thousands

of Iowans naturalize as citizens every year, many of them swearing their oaths in this courthouse.

The Secretary’s scheme—based solely on data that may be years old—requires new citizens,

absent any notice, to prove their citizenship at the polls or else lose their fundamental right to vote

in the 2024 General Election. Absent an injunction, Defendants have instituted a burdensome

requirement for naturalized citizens that does not exist for citizens born in the United States, solely

based on their national origin.

       The Secretary’s discriminatory scheme requires urgent relief and immediate corrective

action. Public reporting indicates that voters on the Secretary’s secret list have been referred to


                                                  1
     Case 4:24-cv-00390-SHL-HCA                 Document 9-1          Filed 10/31/24         Page 9 of 32




law enforcement for investigation. Exs. A1, B2. Notably, such public reporting indicates that these

investigations have confirmed that all investigated persons are lawful, naturalized citizens and

eligible to vote. But in all events, federal law and the Constitution do not tolerate subjecting United

States citizens to unwarranted burdens—rising to criminal investigation—for the act of casting a

ballot. Whether by design or effect, Defendants’ conduct threatens to chill the exercise of the

franchise by Iowa’s newest citizens.

        The election is now mere days away. Preliminary relief is urgently needed to prevent the

irreparable harm impacted voters face to their fundamental right to vote.

                                      FACTUAL BACKGROUND

I.      The Secretary Announces the Voter Purge Program.

        On October 22, 2024—exactly fourteen days before the November 5, 2024 General

Election, and while early voting was already underway in Iowa—the Secretary released a

statement claiming that his office has a list of more than 2,000 voters he “reasonably suspects” of

being ineligible to vote based on lack of citizenship (“Affected Voters”). That statement was

accompanied by a directive to county election commissioners to monitor voting by all persons on

the list and automatically challenge the eligibility of Affected Voters if they cast a vote. Ex. A.

The directive further requires that challenged voters must cast a provisional ballot rather than a

normal ballot, which would count only if the voter adequately proves citizenship. See id.

Challenged voters have six days—seven days this year due to a holiday—to cure their ballots. Exs.




1
  Robin Opsahl, Iowa Secretary of State Says 87 Noncitizens Voted in Elections, Iowa Cap. Dispatch (Oct. 22, 2024)
(attached as Exhibit A).
2
  Stephen Gruber-Miller, Iowa Secretary of State Says Dozens of Noncitizens May Have Voted in Past State
Elections, Des Moines Register (Oct. 23, 2024) (attached as Exhibit B).


                                                        2
   Case 4:24-cv-00390-SHL-HCA                  Document 9-1          Filed 10/31/24         Page 10 of 32




A, C3, D4. Accordingly, voters would have until November 12 at noon to provide proof of

citizenship to their respective county auditors to have their votes counted. Exs. E5, F6.

        Regarding his new list of purportedly ineligible voters, the Secretary claims that he

compared voter registration lists to Department of Transportation (“DOT”) records of persons

who, at some point in the past, self-identified as non-citizens. Ex. E. Specifically, the Secretary

generated a list of 2,176 registered voters who purportedly self-reported to the DOT that they were

not citizens when applying for a driver’s license or similar interactions with the Department. See

id. The Secretary does not specify any time period for the DOT records, meaning self-identification

as a non-citizen may have occurred years ago. Id. The letter does not indicate that the Secretary

has any firsthand or personal knowledge about any of these voters or identify a source of

information for their purported ineligibility beyond the DOT records. See id. Iowa maintains

records of naturalized citizens showing that more than 4,000 Iowans naturalized in 2022 alone,

with 3,000–5,000 Iowans naturalizing each year since 2018. Ex. F. This annual figure is nearly

double the number of the total Iowa voters on the Secretary’s list.

        In keeping with these figures, the Secretary’s office admits that some of the Affected

Voters on the Secretary’s list may have become naturalized citizens since self-reporting non-

citizenship to the DOT. Ex. B; indeed, his office has freely conceded that “we need clarification

on what their citizenship status was when they registered to vote.” Ex. C. And the Secretary’s

directive makes clear that, even crediting the accuracy of the data, just 154 of the 2,174 voters on

the list supposedly self-identified as a non-citizen after registering to vote. Ex. E. Despite this, the



3
  Hannah Fingerhut, Iowa Finds Several Dozen Instances of Noncitizens Voting in a Past Election, Associated Press
(Oct. 23, 2024) (attached as Exhibit C).
4
  Declaration of Orcun Selcuk (Oct. 29, 2024) ¶ 17 (attached as Exhibit D).
5
  See Letter from Office of the Iowa Secretary of State to Commissioners (Oct. 22, 2024) (attached as Exhibit E).
6
  Persons Naturalized in Iowa by Country of Birth: 2022, State Libr. Iowa (last visited Oct. 30, 2024),
https://www.iowadatacenter.org/index.php/data-by-source/other/naturalizations (attached as Exhibit F).


                                                        3
    Case 4:24-cv-00390-SHL-HCA                  Document 9-1           Filed 10/31/24         Page 11 of 32




Secretary dispensed with further investigation and opted for sweeping challenges, voter

intimidation, and disenfranchisement.

         The Secretary declined to notify Affected Voters on his list. Instead, the Secretary sent

parts of his confidential list to all county election commissioners in Iowa, mandating they

challenge any voter on the list as ineligible. Invoking the full authority of his office, the Secretary’s

directive was unequivocal: “under SOS authority under Iowa Code sections 47.1(1) and 47.7(6),

you are hereby directed to challenge the ballots of any person in the attached list of registered

voters who attempt to vote in the 2024 General Election.” Ex. E (emphasis added). According to

the Des Moines Register, “Adams County Auditor Becky Bissell, who chairs the Iowa State

Association of County Auditors, said county auditors became aware of Pate’s concerns only on

Tuesday morning [October 22] and were still seeking more information.” Ex. B.

         The imposition of having to prove citizenship as a registered voter does not end the

consequences following from the Secretary’s scheme. The Secretary has publicly threatened

criminal prosecution, stating: “It is a felony for noncitizens to either vote or register to vote, and

we will work with the authorities to ensure that those who break the law are prosecuted to the

fullest extent.” Ex B. The threat of investigation and possibility of referral to law enforcement is

intimidating. Exs. D, G.7 Indeed, even a ballot challenge based on citizenship can be intimidating

and prevent eligible voters from voting. Ex. H.8 Additionally, according to public reporting, Linn

County has, in fact, referred Affected Voters who already voted to law enforcement for

investigation. Ex. I.9 Importantly, those investigations concluded that the voters in question are

naturalized citizens eligible to vote, underscoring the factually baseless and ill-conceived nature


7
  Declaration of Alan David Gwilliam (Oct. 29, 2024) ¶ 15 (attached as Exhibit G).
8
  Declaration of Joe Enriquez Henry (Oct. 29, 2024) ¶ 16 (attached as Exhibit H).
9
  Erin Murphy, 3 on List of Possible Illegal Linn County Voters are Eligible, Auditor Miller Says, The Gazette (Oct.
25, 2024) (attached as Exhibit I).


                                                         4
      Case 4:24-cv-00390-SHL-HCA               Document 9-1           Filed 10/31/24         Page 12 of 32




of the Secretary’s scheme. Id.; see also Ex. J.10 The law-enforcement investigations—along with

public reporting of the Secretary’s threats of criminal prosecution—foster an unacceptable climate

of reprisal and intimidation around the act of casting a ballot.

         The Secretary’s directives to local election officials include a letter and follow-up email to

all commissioners instructing them to challenge Affected Voters on Election Day. Exs. E, K.11 The

email required election officials to keep the list confidential: “IMPORTANT: Do not release the

names or other details publicly.” Ex. K. It provided further instructions for all poll workers to

follow on Election Day:

         Before the polls open, all PEOs who will be checking in voters should review the
         enclosed list of registered voters who have self-reported to the Department of
         Transportation that they are not a citizen are currently registered to vote.
         Therefore, you have a duty to challenge the voter under § 49.79 and offer the
         voter a provisional ballot. Follow the appropriate procedures for challenging a
         voter and processing a provisional ballot. While it is not required to complete the
         challenger statement form as a PEO, you are required to provide the voter with the
         Statement to Person Casting a Provisional Ballot produced by your e-pollbook
         software. You should also complete the Non-Citizens Challenge Form provided
         with this information.

Id. A challenger’s statement form was attached. Exs. L,12 D ¶ 16. Missing from the Secretary’s

instruction is any direction to notify Affected Voters or take reasonable steps to ascertain the

veracity of the Secretary’s list.

II.      The Individual Plaintiffs, Naturalized Citizens, Attempt to Vote Through Early In-
         Person Voting.

         A.      Dr. Orcun Selcuk.

         Plaintiff Orcun Selcuk (“Dr. Selcuk”) was born in Turkey and moved to the United States

in 2013. Ex. D ¶ 5. Dr. Selcuk became a naturalized United States Citizen on November 6, 2023.




10
   Declaration of Joel Miller (Oct. 29, 2024) ¶¶ 5–6 (attached as Exhibit J).
11
   Email from Office of Iowa Secretary of State to Commissioners and Staff (Oct. 22, 2024) (attached as Exhibit K).
12
   Orcun Selcuk Challenger’s Statement (Oct. 23, 2024) (attached as Exhibit L).


                                                        5
   Case 4:24-cv-00390-SHL-HCA             Document 9-1        Filed 10/31/24      Page 13 of 32




Id. ¶ 7. Dr. Selcuk is an eligible and registered voter residing in Decorah, located in Winneshiek

County, Iowa. Id. ¶ 2. He has voted three times in the United States; most recently, he cast an in-

person absentee ballot on October 22, 2024 in the 2024 General Election. Id. ¶¶ 9–13.

        On October 26, 2024, Dr. Selcuk received a letter from Defendant Steines, challenging Dr.

Selcuk’s eligibility to vote based on his citizenship. Id. ¶¶ 16–17. Dr. Selcuk stated that the notice

“was very confusing” and “[n]o letter or further explanation accompanied the single page notice.”

Id. ¶ 18. The letter noted that Dr. Selcuk has until November 12, 2024 at noon to prove that he is

a United States citizen. Id. ¶ 17.

        B.     Mr. Alan David Gwilliam.

        Alan David Gwilliam (“Mr. Gwilliam”) was born in Wales and moved to the United States

in 1981. Ex. G ¶ 5. He became a United States citizen on August 16, 2024, and registered to vote

shortly thereafter. Id. ¶ 8. He is an eligible and registered voter, currently residing in Iowa City,

Iowa, which is located in Johnson County, Iowa. Id. ¶ 1.

        Mr. Gwilliam “was greatly anticipating voting for the first time in this election,” but was

recently informed that he is on a list of voters in Johnson County who must vote provisionally and

prove their citizenship status before having their votes counted. Id. ¶¶ 9–11. Mr. Gwilliam fears

the consequences these challenges will have, particularly for those who have not received

advanced warning like he was. Id. ¶ 15. He says these last-minute challenges are “confusing,”

“intimidating,” and a “burden” on his “fundamental right of citizenship [he] gained after years of

effort.” Id.




                                                  6
      Case 4:24-cv-00390-SHL-HCA                  Document 9-1           Filed 10/31/24   Page 14 of 32




           C.       Ms. Tingting Zhen.

           Tingting Zhen (“Ms. Zhen”) moved to the United States in 2018 from China, where she

was born. Ex. M.13 Ms. Zhen is a naturalized U.S. citizen and an eligible and registered voter

residing in Ankeny, Iowa, which is in Polk County, Iowa. Id. ¶¶ 1–2.

           She was especially excited for her eligibility to vote, stating that America “is a country of

freedom. That is what voting means to me. Voting means having a voice and it is freedom.” Id. ¶¶

10–11. Ms. Zhen registered to vote on September 23, 2024, then learned through news reports that

she may be challenged when voting based on her Iowa driving record. Id. ¶ 13. Ms. Zhen called

the Polk County Auditor on October 30, 2024 to ask whether she was on the Affected Voters list.

Id. ¶ 14. She was put on hold, then was informed the Auditor’s Office could not tell her and that

she should contact the Secretary. Id. ¶¶ 14–15. Ms. Zhen called the Secretary’s office, which

refused to tell her whether she is on the Affected Voters list. Id. ¶ 15. She feels “shocked and

intimidated,” and questions “how, in this country of freedom, can I be identified as a noncitizen

when I am a United States citizen?” Id. ¶ 16.

           D.       Mr. Michael Brokloff.

           Michael Brokloff (“Mr. Brokloff”) moved to the United States in 1997 from Canada, where

he was born. Ex. N.14 He is an eligible and registered voter residing in Davenport, Iowa, which is

located in Scott County, Iowa. Id. ¶ N. He became a naturalized U.S. citizen in 2021 and registered

to vote shortly thereafter. Id. ¶¶ 3, 8. He tried to vote early in-person in the General Election on

October 25, 2024, but was told he “needed to prove [he] was a citizen.” Id. ¶ 11. Mr. Brokloff was

given a provisional ballot and a printout indicating he was being challenged based on citizenship.




13
     Declaration of Tingting Zhen (Oct. 30, 2024) (attached as Exhibit M).
14
     Declaration of Michael Brokloff (Oct. 30, 2024) (attached as Exhibit N).


                                                           7
      Case 4:24-cv-00390-SHL-HCA                  Document 9-1           Filed 10/31/24         Page 15 of 32




Ex. O.15 He brought his passport to the Scott County Auditor’s Office on October 28, 2024 and

was told his documentation would be reviewed before November 12, 2024, and they would “either

reject or accept [his] ballot at that time.” Id. ¶ 12. Mr. Brokloff is “frustrated” that, as a U.S. citizen

(and having already proved that), his “ballot still has to go to this board after the election” and that

he could not “cast a regular ballot, and have it be counted.” Id. ¶ 14.

           E.       The League of United Latin American Citizens of Iowa.

           The League of United Latin American Citizens of Iowa (“LULAC”) is the state affiliate of

the oldest and largest Latino civil rights organization in the United States. Ex. H ¶¶ 2–3. One of

LULAC’s most prominent organizational purposes is voter engagement. Id. ¶ 6. With over 500

members in Iowa, many of whom are recently naturalized citizens who previously obtained

driver’s licenses while lawful permanent residents, LULAC’s members include Affected Voters.

Id. ¶¶ 13–17. LULAC brings this action on their behalf. See Students for Fair Admissions, Inc. v.

President & Fellows of Harvard College, 600 U.S. 181, 199 (2023); Hunt v. Wash. State Apple

Adver. Comm’n, 432 U.S. 333, 343 (1977). Additionally, LULAC brings this action on its own

behalf, as it has been directly injured by Defendants’ actions. See FDA v. All. for Hippocratic

Med., 602 U.S. 367, 393 (2024); Havens Realty Corp. v. Coleman, 455 U.S. 363, 379, n. 19

(1982)); see also Nat’l Fed’n of the Blind of Mo. v. Cross, 184 F.3d 973, 979 (8th Cir. 1999). In

preparation for the 2024 General Election, LULAC has spent substantial funds and working hours

on its voter-engagement efforts but did so without knowledge of the Secretary’s last-minute

directive. Ex. H ¶¶ 7–9, 11. Now, LULAC is and will continue to focus its resources on informing

its members of the directive and assisting them in navigating the mandated challenges to their




15
     See Michael Brokloff Statement to Person Casting a Provisional Ballot (Oct. 25, 2024) (attached as Exhibit O).


                                                           8
     Case 4:24-cv-00390-SHL-HCA               Document 9-1         Filed 10/31/24        Page 16 of 32




eligibility, when it otherwise would have continued its investment in the “get out the vote”

campaign at this crucial time, as well as maintaining its other initiatives. Id. ¶¶ 9, 11–12.

III.    Absent an Injunction, the Secretary’s List Will Burden Eligible Voters

        The vast majority, if not all, of persons on the Secretary’s list who have been investigated

to date are eligible voters. See Exs. J ¶ 5, P, G, H, M, P.16 The Secretary’s directive—hurriedly put

together on the eve of a presidential election—thus burdens and risks disenfranchising eligible

Iowa voters, purely on the basis of their national origin.

        Mr. Joel Miller (“Mr. Miller”) has been the County Auditor and Commissioner of Elections

for Linn County, Iowa, for over seventeen years. Ex. J ¶ 1. Mr. Miller reviewed a subset of the 150

registrants Linn County registrants on the Secretary’s list, determining that fifteen of those

individuals voted early in-person or requested a vote-by-mail absentee ballot. Id. ¶ 5. He contacted

county and federal law enforcement officers who confirmed that all fifteen registrants are United

States citizens. Id. In other words, all fifteen registrants on the list who had voted at the time of

investigation were eligible to vote and yet would be challenged and forced to vote provisionally in

the presidential election.

        Other than the Secretary’s October 22 directive, Mr. Miller has received no formal

guidance from the Secretary’s office on how to implement this challenge program on Election

Day. Id. ¶ 7. He avers that the October 22 directive is confusing because the Secretary’s office

explained in an August 12, 2024 email that federal law prohibits states from requiring specific,

documented proof of U.S. citizenship at the polls. Id. ¶ 9. Mr. Miller is frustrated by the lack of

clear guidance and the fact that the Secretary’s directive was sent just two weeks before the general

election, when most poll-worker training and early voting had already begun. Id. ¶ 11. He is


16
  Robin McClelland, Some Cerro Gordo County Voters Flagged by Pate are Citizens After All, Globe Gazette (Oct.
30, 2024) (attached as Exhibit P).


                                                      9
     Case 4:24-cv-00390-SHL-HCA           Document 9-1         Filed 10/31/24      Page 17 of 32




especially concerned about legal consequences that could arise from failing to follow the

Secretary’s mandates. Id. ¶ 12.

                                           ARGUMENT

        Plaintiffs are entitled preliminary relief barring Defendants from continuing to implement

their unlawful scheme to deny and burden the voting rights of naturalized citizens. A TRO and

preliminary injunction should be granted where, as here, the moving party establishes: (1) a

likelihood of success on the merits; (2) a likely threat of irreparable harm to the movant; (3) the

harm alleged by the movant outweighs any harm to the non-moving party; and (4) an injunction is

in the public interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Hotchkiss

v. Cedar Rapids Cmty. Sch. Dist., 115 F.4th 889, 893 (8th Cir. 2024); see Tumey v. Mycroft AI,

Inc., 27 F.4th 657, 665 (8th Cir. 2022) (applying standard to a TRO).

I.      Plaintiffs Are Likely to Succeed on the Merits.

        A.     Plaintiffs Are Likely to Succeed on the Merits of Their Claim That
               Defendants’ Conduct Violates the Equal Protection Clause.

        The Secretary’s scheme violates the Equal Protection Clause by discriminating against

persons based on a suspect classification. “All persons born or naturalized in the United States . .

. are citizens.” U.S. Const., 14th Am., § 1. “Under our Constitution, a naturalized citizen stands on

an equal footing with the native citizens in all respects, save that of eligibility to the Presidency.”

Luria v. United States, 231 U.S. 9, 22 (1913). “A citizen has a constitutionally protected right to

participate in elections on an equal basis with other citizens in the jurisdiction.” Dunn v. Blumstein,

405 U.S. 330, 336 (1972); see also Bush v. Gore, 531 U.S. 98, 104–05 (2000) (“Having once

granted the right to vote on equal terms, the State may not, by later arbitrary and disparate

treatment, value one person’s vote over that of another.”). Discrimination based on naturalized




                                                  10
   Case 4:24-cv-00390-SHL-HCA              Document 9-1       Filed 10/31/24      Page 18 of 32




citizenship and national origin is presumptively unconstitutional and subject to strict scrutiny. See

Graham v. Richardson, 403 U.S. 365, 371–72 (1975).

          The Secretary’s scheme discriminates against naturalized citizens by creating a process

that, by design, burdens the right to vote for many recently naturalized citizens, while imposing no

burden at all on U.S.-born citizens. Voters who are similarly situated—all are citizens who attested

to that fact when they registered to vote—are treated differently, with Iowa citizens who were not

born in the United States, and only that class of citizens, subjected to voter challenges requiring

them to prove their citizenship at the polls. The program thus creates a suspect classification that

discriminates against naturalized citizens and treats persons differently with respect to a

fundamental right based on that classification. Because naturalized citizens are, by definition, not

born in the United States, the classification is de facto based on the Affected Voter’s national

origin.

          As a result, the Secretary’s scheme is subject to strict scrutiny, which it cannot survive.

Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 440 (1985) (strict scrutiny applies “when a statute

classifies by race, alienage, or national origin”). When strict scrutiny applies, state action will be

upheld as constitutional “only if it is narrowly drawn to serve a compelling interest.” Libertarian

Party of Ark. v. Thurston, 962 F.3d 390, 398 (8th Cir. 2020) (internal quotation omitted). The state

bears the burden of making this demonstration. Moore v. Martin, 854 F.3d 1021, 1025–26 (8th

Cir. 2017).

          The Secretary’s list is not narrowly tailored to further compelling governmental interests.

See Grutter v. Bollinger, 539 U.S. 306, 326 (2003). The list—which is based solely on the DOT

records and not any firsthand personal knowledge—is vastly over-inclusive and targets anyone

who has registered to vote after purportedly identifying as a non-citizen at some point in the past.




                                                  11
   Case 4:24-cv-00390-SHL-HCA            Document 9-1        Filed 10/31/24      Page 19 of 32




Indeed, the Secretary recognizes that only 154 of the 2,174 Affected Voters self-identified as a

non-citizen after registering to vote. Ex. E. The scheme fails to make any allowance for the

thousands of Iowans who naturalize every year. See Ex. E. And to date, the vast majority, if not

all, of Affected Voters who have been investigated have been determined to be citizens and eligible

voters. See Exs. J ¶ 5; G, H, M, P. Even if the Secretary had specific reasons to question a voter’s

eligibility, a narrowly tailored approach would involve an individualized inquiry to investigate the

facts and attempt to corroborate the DOT records. Here, by contrast, a simple comparison of voter

registration dates to the dates these same individuals self-reported to the DOT would have more

narrowly tailored the scheme. Additional far less-restrictive means are available, including

notifying the Affected Voters or publicly disclosing the list weeks (or even months) before the

election.

       Federal courts consistently strike down similar laws that burden the rights of naturalized

citizens as the Secretary has done here. A federal court struck down an Ohio law that required

naturalized citizens—but not U.S.-born citizens—to provide proof of citizenship, on grounds that

it violated the fundamental right to vote naturalized citizens in Ohio. See Boustani v. Blackwell,

460 F. Supp. 2d 822, 827 (N.D. Ohio 2006). A Georgia court held that a state law that barred

naturalized citizens from becoming state troopers is unlawful. Fernandez v. Georgia, 716 F. Supp.

1475, 1479 (M.D. Ga. 1989). And Florida, Arizona, and Texas have similarly had to abandon

programs that systematically target naturalized citizens. See United States v. Florida, 870 F. Supp.

2d 1346, 1350 (N.D. Fla. 2012); Mi Familia Vota v. Fontes, 719 F. Supp. 3d 929, 1018–19 (D.

Ariz. 2024); Tex. League of United Latin Am. Citizens v. Whitley, No. SA-19-CA-074-FB, 2019

WL 7938511, at *1 (W.D. Tex. Feb. 27, 2019) (attached as Exhibit R). The same result should be

reached here.




                                                12
   Case 4:24-cv-00390-SHL-HCA             Document 9-1           Filed 10/31/24    Page 20 of 32




       B.      The Voter Purge Program Places Impermissible Burdens on the Affected
               Voter’s Fundamental Right to Vote.

       The Secretary’s directive also unlawfully burdens Plaintiffs’ fundamental right to vote

protected by the First and Fourteenth Amendments. The Supreme Court has long recognized the

right to vote as a constitutionally protected fundamental right. Harper v. Va. State Bd. of Elections,

383 U.S. 663, 667 (1966). Under the Anderson-Burdick sliding-scale framework for right-to-vote

challenges, courts “weigh ‘the character and magnitude of the asserted injury to the rights

protected by the First Amendment ... that the plaintiff seeks to vindicate’ against ‘the precise

interests put forward by the State as justifications for the burden imposed by its rule.’”

Independence-Alliance Party of Minn. v. Simon, 87 F.4th 872, 876 (8th Cir. 2023) (quoting

Burdick v. Takushi, 504 U.S. 428, 434 (1992)). Strict scrutiny applies to laws and practices that

constitute a “severe burden” on Plaintiffs’ right to vote. Id.

       The Secretary’s directive constitutes a severe burden on Plaintiffs’ right to vote. At best, it

requires Affected Voters to cast a provisional ballot and prove—without advance notice—their

citizenship or else face disenfranchisement in the 2024 General Election. See Boustani, 460 F.

Supp. 2d at 827 (finding proof of citizenship law “imposes an undue burden on the fundamental

right to vote of naturalized citizens in Ohio”). At worst, Defendants are subjecting Affected Voters

to intimidation, criminal investigation, and intrusive scrutiny to exercise the right to vote.

       Regardless, the Secretary’s directive cannot survive any level of scrutiny. Even for less-

than-severe burdens, Anderson-Burdick is not a “rational basis test” but rather a “means-end fit

framework” that requires the state to set forth more than mere speculative concerns to justify voting

restrictions. Soltysik v. Padilla, 910 F.3d 438, 449 (9th Cir. 2018). Even a “minimal” burden under

Anderson-Burdick “must be justified by relevant and legitimate state interests ‘sufficiently weighty

to justify the limitation.’” Ohio State Conf. of NAACP v. Husted, 768 F.3d 524, 538 (6th Cir. 2014),



                                                  13
   Case 4:24-cv-00390-SHL-HCA             Document 9-1        Filed 10/31/24      Page 21 of 32




vacated on other grounds, 2014 WL 10384647 (6th Cir. Oct. 1, 2014) (quoting Crawford v.

Marion Cnty. Election Bd., 553 U.S. 181, 191 (2008)). The Secretary must “articulate specific,

rather than abstract state interests, and explain why the particular restriction imposed is actually

necessary, meaning it actually addresses the interest put forth.” Id. at 545. The Secretary has no

state interest in—mere days away from a presidential election—burdening and disenfranchising

large swaths of registered voters absent definitive proof that any of those voters are ineligible. And

indeed, all available evidence suggests that at least a sizeable percentage of individuals on the list

are naturalized citizens and eligible voters.

       C.      Plaintiffs Are Likely to Succeed on the Merits of Their Claim That the Purge
               Program Violates Procedural Due Process.

       The Secretary’s scheme also violates the right to procedural due process. Procedural due

process requires both notice and an opportunity to be heard at a meaningful time and in a

meaningful manner. Garcia v. Fed. Nat’l Morg. Ass’n, 782 F.3d 736, 741 (6th Cir. 2015) (quoting

Armstrong v. Manzo, 380 U.S. 545, 552 (1965); see also Schmidt v. Des Moines Public Schools,

655 F.3d 811, 817 (8th Cir. 2011). Plaintiffs establish a violation of procedural due process by: (1)

setting forth the liberty or property interest at stake; and (2) proving that the defendant deprived

them of such an interest without due process of law. Schmidt, 655 F.3d at 817. Due process is “a

flexible concept” tailored to the interests and circumstances at stake. Id.

       As to the first prong, it is “[b]eyond debate” that “the right to vote is a constitutionally

protected liberty interest.” Self Advocacy Solutions N.D. v. Jaeger, 464 F. Supp. 3d 1039, 1052

(D.N.D. 2020); see also Doe v. Rowe, 156 F. Supp. 2d 35, 47 (D. Maine 2001) (“courts have

recognized that the fundamental nature of the right to vote gives rise to a liberty interest entitled

to due process protection.”) (citing cases).




                                                 14
      Case 4:24-cv-00390-SHL-HCA          Document 9-1        Filed 10/31/24      Page 22 of 32




         As to the second prong, the Secretary’s directive fails principally because Affected Voters

are provided no pre-deprivation notice. See United States v. James Daniel Good Real Property,

510 U.S. 43, 53 (1993) (noting “the general rule requiring predeprivation notice and hearing” can

be set aside “only in extraordinary situations”) (internal quotation marks omitted). Here, the

Secretary has specifically instructed county election commissioners to keep the identity of the

Affected Voters secret until election day, while challenging Affected Voters only when they vote.

Indeed, many of the Affected Voters will have no idea they are on the list—or even that such a list

exists—until the moment they approach the ballot box. Absent any kind of notice, these voters

have no meaningful opportunity for due process prior to having their fundamental right to vote

being burdened by a cumbersome (and illegal) verification process via an arbitrary challenge to

their ballot. In addition, assuming they are even aware of their status, due to the late hour of the

Secretary’s October 22 directive, the Affected Voters have no opportunity for any kind of process

or hearing to challenge their placement on the list. The lack of notice is made all the worse by Ms.

Zeng’s experience of having Defendants refuse to disclose whether she is on the Secretary’s list.

See Ex. M ¶¶14-15. And for reasons explained supra, there is an enormous “risk of an erroneous

deprivation” because the Secretary’s list is inaccurate, and therefore little governmental interest in

the directive. Padda v. Becerra, 37 F.4th 1376, 1382 (8th Cir. 2022) (internal quotation marks

omitted). By contrast, Plaintiffs’ private interest “implicates an individual’s right to vote and is

therefore entitled to substantial weight.” New Ga. Project v. Raffensperger, 484 F. Supp. 3d 1265,

1292 (N.D. Ga. 2020).

II.      Plaintiffs Have Suffered and Will Continue to Suffer Irreparable Harm as a Result
         of the Interference with their Right to Vote.

         As a preliminary matter, Plaintiffs do not need to provide a showing of irreparable harm in

this instance as they normally would, because the NVRA explicitly provides for injunctive relief.



                                                 15
   Case 4:24-cv-00390-SHL-HCA             Document 9-1         Filed 10/31/24    Page 23 of 32




“When an injunction is expressly authorized by statute and the statutory conditions are satisfied,

the movant need not establish specific irreparable injury to obtain a preliminary injunction.”

Burlington N. R.R. Co. v. Bair, 957 F.2d 599, 601 (8th Cir. 1992) (“It is a well-established rule

that where Congress expressly provides for injunctive relief to prevent violations of a statute, a

plaintiff does not need to demonstrate irreparable harm to secure an injunction.”).

       Regardless, Plaintiffs easily establish irreparable harm. When considering the irreparable

harm analysis, courts usually look at either of two factors: 1) whether the harm is “certain, great,

actual, and not theoretical,” Heideman v. S. Salt Lake City, 348 F.3d 1182, 1189 (10th Cir. 2003),

or 2) whether the harm can “be undone through monetary remedies,” Ne. Fla. Chapter of Ass’n of

Gen. Contractors v. Jacksonville, 896 F.2d 1283, 1295 (11th Cir. 1990).

       Regarding the first factor, the right to vote is fundamental and the Secretary’s purge

program irreparably harms Plaintiffs by infringing on that right. See generally McCutcheon v. Fed.

Election Comm’n, 134 S. Ct. 1434, 1440-41 (2014) (“There is no right more basic in our

democracy than the right to participate in electing our political leaders.”). When voting rights “are

threatened or impaired, irreparable injury is presumed.” Obama for Am. v. Husted, 697 F.3d 423,

436 (6th Cir. 2012); see also, e.g., id. (“A restriction on the fundamental right to vote therefore

constitutes irreparable injury.”); League of Women Voters of N.C. v. North Carolina, 769 F.3d 224,

247 (4th Cir. 2014) (“Courts routinely deem restrictions on fundamental voting rights irreparable

injury.”); Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986) (“The registration applicants in

this case would certainly suffer irreparable harm if their right to vote were impinged upon.”);

Montano v. Suffolk Cty. Legislature, 268 F. Supp. 2d 243, 260 (E.D.N.Y. 2003) (“An abridgement

or dilution of the right to vote constitutes irreparable harm.”).




                                                  16
   Case 4:24-cv-00390-SHL-HCA             Document 9-1        Filed 10/31/24      Page 24 of 32




        For the second factor, the harm is irreparable also because the injury—being prevented

from voting—is not compensable. Absent injunctive relief, the Affected Voters will miss their

opportunity to vote freely in upcoming elections, and there is no way to adequately compensate

them after the fact. See, e.g., League of Women Voters of N.C., 769 F.3d at 247 (“[O]nce the

election occurs, there can be no do-over and no redress.”); Democratic Nat’l Comm. v. Republican

Nat’l Comm., No. CV 81-03876, 2016 WL 6584915, at *17 (D.N.J. Nov. 5, 2016) (attached as

Exhibit Q) (“[C]ourts have consistently found that a ‘person who is denied the right to vote suffers

irreparable injury’” because “infringement on the right to vote ‘cannot be alleviated after the

election.’”); Hoblock v. Albany Cty. Bd. of Elections, 341 F. Supp. 2d 169, 176 (N.D.N.Y. 2004)

(“Money cannot compensate these Plaintiffs for the harm of being shut out of the political process,

and therefore they have met the requirement of showing irreparable harm.”); Dillard v. Crenshaw

Cty., 640 F. Supp. 1347, 1363 (M.D. Ala. 1986) (“Given the fundamental nature of the right to

vote, monetary remedies would obviously be inadequate in this case; it is simply not possible to

pay someone for having been denied a right of this importance.”). Thus, given that the Secretary’s

directive threatens Plaintiffs’ fundamental right to vote ahead of a fast-approaching election,

irreparable injury is satisfied.

III.    The Balance of Equities Tips Sharply in Plaintiffs’ Favor.

        For the relative harms analysis, a court “balance[s] the irreparable harms we have identified

against the harm to defendants if the preliminary injunction is granted.” Davis v. Mineta, 302 F.3d

1104, 1116 (10th Cir. 2002). The Secretary’s purge program creates the very real risk that Plaintiffs

and other eligible voters will be wrongfully purged from the voting rolls without sufficient time

for reinstatement. In other words, absent an injunction, Plaintiffs “will likely suffer an irreparable

loss of their constitutional rights.” Gilliam v. Foster, 63 F.3d 287, 292 (4th Cir. 1995); see also

Ariz. Dream Act Coalition v. Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014) (“[T]he balance of the


                                                 17
   Case 4:24-cv-00390-SHL-HCA              Document 9-1        Filed 10/31/24      Page 25 of 32




equities favor prevent[ing] the violation of a party’s constitutional rights.”) (internal quotation

marks omitted); Wesberry v. Sanders, 376 U.S. 1, 17 (1964) (“No right is more precious in a free

country than that of having a voice in the election of those who make the laws under which, as

good citizens, we must live. Other rights, even the most basic, are illusory if the right to vote is

undermined.”). By contrast, any potential harm to Defendants will be minimal and cannot compare

to the harm of deprivation of constitutional rights. See generally Gordon v. Holder, 721 F.3d 638,

653 (D.C. Cir. 2013) (affirming district court finding that “a potential deprivation of [plaintiff’s]

constitutional right” outflanked State’s interests even when the court determined the latter were

legitimate). Defendants face no harm in an injunction here; Defendants remain entitled to pursue

list maintenance activities in the normal course, just not activities that threaten to disenfranchise

and intimidate thousands of voters days before a presidential election. For these reasons, the

balance of equities favor granting injunctive relief in favor of Plaintiffs.

IV.    The Preliminary Injunction Will Serve the Public Interest.

       Plaintiffs are entitled to a preliminary injunction when, “if issued, the injunction would not

be adverse to the public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000). There

is an extraordinary public interest in protecting the right to vote and ensuring as many eligible

voters are given the opportunity to exercise that right. See, e.g., Wesberry, 376 U.S. at 17; Obama

for Am., 697 F.3d 423 (“[T]he public has a strong interest in exercising the fundamental political

right to vote . . . The public interest therefore favors permitting as many qualified voters to vote as

possible.” (internal citations omitted)); League of Women Voters of N.C., 769 F.3d at 247 (same);

League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (same). In particular,

“[t]here is a great public interest in not denying voters the opportunity to vote, in violation of the

procedures of the NVRA….” A. Philip Randolph Inst. v. Husted, 907 F.3d 913, 922 (6th Cir. 2018);

see also U.S. Student Ass’n Found. v. Land, 546 F.3d 373, 388 (6th Cir. 2008) (noting “the risk of


                                                  18
   Case 4:24-cv-00390-SHL-HCA              Document 9-1        Filed 10/31/24       Page 26 of 32




actual voter fraud is miniscule when compared with the concrete risk” of disenfranchisement).

Further, “the public has an interest in ensuring federal laws are followed, particularly when those

interests relate to voting rights.” League of Women Voters of Mo. v. Ashcroft, 336 F. Supp. 3d 998,

1006 (W.D. Mo. 2018); see also Awad v. Ziriax, 670 F.3d 1111, 1132 (10th Cir. 2012) (“[I]t is

always in the public interest to prevent the violation of a party's constitutional rights. . . While the

public has an interest in the will of the voters being carried out . . . the public has a more profound

and long-term interest in upholding an individual's constitutional rights.” (internal quotations

omitted)); League of Women Voters of Fla. v. Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla.

2012) (“The vindication of constitutional rights and the enforcement of a federal statute serve the

public interest almost by definition.”). Plaintiffs cannot imagine anything more centrally in the

public interest than ensuring that registered, eligible voters are able to freely exercise their

constitutional right to vote in the upcoming Federal elections.

       By contrast, “[t]he public has no interest in enforcing unconstitutional laws” or actions.

Firearms Policy Coalition Second Amendment Defense Committee v. Harris, 192 F. Supp. 3d

1110, 1129 (E.D. Cal. 2016); see also D.M. by Bao Xiong v. Minn. State High Sch. League, 917

F.3d 994, 1004 (8th Cir. 2019) (“[I]t is always in the public interest to prevent the violation of a

party’s constitutional rights.”) (quotation omitted). Defendants’, Plaintiffs’, and the public’s

interests should all be the same—ensuring eligible voters are able to cast ballots in the upcoming

presidential election.

       Finally, “the primary function of a preliminary injunction is to preserve the status quo…”

Kansas City Southern Transport Co., Inc. v. Teamsters Local Union #41, 126 F.3d 1059, 1066-77

(8th Cir. 1997) (internal quotation marks omitted); see also Bear v. Kautzky, 305 F.3d 802, 805

(8th Cir. 2002) (noting the public interest in “maintaining the status quo”). It would violate the




                                                  19
  Case 4:24-cv-00390-SHL-HCA              Document 9-1        Filed 10/31/24      Page 27 of 32




status quo—days out from a presidential election and after early voting has already started in

Iowa—to permit the Secretary and county clerks to challenge and potentially disenfranchise

registered voters who have consistently voted in previous elections (and in some cases voted in

this presidential election). The Secretary had months, or years, to conduct the list maintenance

contemplated here, and he elected not to. His directive, issued on the eve of a presidential election,

has caused chaos, confusion, and fear of his own making. It is in the public interest to preserve the

status quo here and let these registered voters vote as they have for years.

       Given the Secretary’s directive and public statements from his office, affirmative remedial

action is necessary to minimize the risk that Affected Voters will be subjected to this unlawful

scheme or have the exercise of the right to vote chilled. Accordingly, Plaintiffs request targeted

relief to ensure that county election officials and—to the extent possible—the public know that the

Secretary’s directive is rescinded.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request the entry of a temporary

restraining order and preliminary injunction.




                                                 20
  Case 4:24-cv-00390-SHL-HCA   Document 9-1   Filed 10/31/24   Page 28 of 32




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                                    21
Case 4:24-cv-00390-SHL-HCA   Document 9-1     Filed 10/31/24    Page 29 of 32




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                                League of United Latin American Citizens of Iowa




                                  22
  Case 4:24-cv-00390-SHL-HCA          Document 9-1      Filed 10/31/24    Page 30 of 32




                              CERTIFICATE OF SERVICE

        The undersigned certifies that a true copy of the foregoing document was filed
electronically through the Court’s CM/ECF filing system on October 31, 2024, which will send
notice to all counsel of record.


                                                 /s/ Jesse Linebaugh




                                            23
  Case 4:24-cv-00390-SHL-HCA         Document 9-1        Filed 10/31/24     Page 31 of 32




                                 INDEX OF EXHIBITS

Exhibit Description

  A     October 22, 2024 – Robin Opsahl, Iowa Secretary of State Says 87 Noncitizens Voted
        in Elections, Iowa Cap. Dispatch (Oct. 22, 2024), https://iowacapitaldispatch.com/
        2024/10/22/iowa-secretary-of-state-says-87-noncitizens-voted-in-elections/

  B     October 23, 2024 – Stephen Gruber-Miller, Iowa Secretary of State Says Dozens of
        Noncitizens May Have Voted in Past State Elections, Des Moines Register (Oct. 23,
        2024), https://www.desmoinesregister.com/story/news/politics/elections/2024/10/23/
        iowa-secretary-of-state-paul-pate-says-noncitizens-may-have-voted-in-
        elections/75797141007/

  C     October 23, 2024 – Hannah Fingerhut, Iowa Finds Several Dozen Instances of
        Noncitizens Voting in a Past Election, Associated Press (Oct. 23, 2024),
        https://apnews.com/article/noncitizen-voting-iowa-
        622235f2771a372801a5e3c4d1a86343

  D     October 29, 2024 – Declaration of Orcun Selcuk in Support of Plaintiffs’ Motion for a
        Temporary Restraining Order and Preliminary Injunction

  E     October 22, 2024 – Letter from Office of the Iowa Secretary of State to
        Commissioners (Oct. 22, 2024)

  F     October 30, 2024 – Persons Naturalized in Iowa by Country of Birth: 2022, State Libr.
        Iowa (last visited Oct. 30, 2024), https://www.iowadatacenter.org/index.php/data-by-
        source/other/naturalizations

  G     October 29, 2024 – Declaration of Alan David Gwilliam in Support of Plaintiffs’
        Motion for a Temporary Restraining Order and Preliminary Injunction

  H     October 29, 2024 – Declaration of Joe Enriquez Henry in Support of Plaintiffs’
        Motion for a Temporary Restraining Order and Preliminary Injunction

  I     October 25, 2024 – Erin Murphy, 3 on List of Possible Illegal Linn County Voters are
        Eligible, Auditor Miller Says, The Gazette (Oct. 25, 2024), https://www.thegazette.co
        m/campaigns-elections/3-on-list-of-possible-illegal-linn-county-voters-are-eligible-
        auditor-miller-says/

  J     October 29, 2024 – Declaration of Joel Miller (Oct. 29, 2024)

  K     October 22, 2024 – Email from Office of the Iowa Secretary of State to
        Commissioners and Staff (Oct. 22, 2024)




                                            24
Case 4:24-cv-00390-SHL-HCA        Document 9-1       Filed 10/31/24       Page 32 of 32




L    October 23, 2024 – Orcun Selcuk Challenger’s Statement (Oct. 23, 2024)

M    October 30, 2024 – Declaration of Tingting Zhen (Oct. 30, 2024)

N    October 30, 2024 – Declaration of Michael Brokloff (Oct. 30, 2024)

O    October 25, 2024 – Michael Brokloff Statement to Person Casting a Provisional Ballot
     (Oct. 25, 2024)

P    October 30, 2024 – Robin McClelland, Some Cerro Gordo County Voters Flagged by
     Pate are Citizens After All, Globe Gazette (Oct. 30, 2024), https://globegazette.com/
     news/local/govt-and-politics/mason-city-cerro-gordo-noncitizens-voter-rolls-flagged-
     pate-wedmore-duax/article_44928a50-961c-11ef-a006-c3157b1a3ffc.html

Q    November 5, 2016 – Democratic Nat’l Comm. v. Republican Nat’l Comm., No. CV
     81-03876, 2016 WL 6584915 (D.N.J. Nov. 5, 2016) (unpublished opinion)

R    February 27, 2019 – Tex. League of United Latin Am. Citizens v. Whitley, No. SA-19-
     CA-074-FB, 2019 WL 7938511 (W.D. Tex. Feb. 27, 2019) (unpublished opinion)

S    October 31, 2024 – Press Release, Attorney General Bird Statement on LULAC Suing
     State for Upholding Election Integrity, Iowa Dep’t of Just. (Oct. 31, 2024),
     https://www.iowaattorneygeneral.gov/newsroom/attorney-general-bird-statement-on-
     lulac-suing-state-for-upholding-election-integrity




                                         25
